                              Case 1:19-cr-00339-RA Document 58 Filed 11/09/20 Page 1 of 5
   AO 245B (Rev. 09/19)   Judgment in a Criminal Case   (form modified within District on Sept. 30, 2019)
                          Sheet 1



                                             UNITED STATES DISTRICT COURT
                                                           Southern District
                                                        __________   Districtofof
                                                                                New York
                                                                                  __________
                                                                                 )
                 UNITED STATES OF AMERICA                                        )         JUDGMENT IN A CRIMINAL CASE
                            v.                                                   )
                                Ajit Singh                                       )
                                                                                 )         Case Number: 19 Cr. 339-01 (RA)
                                                                                 )         USM Number: 87572-054
                                                                                 )
                                                                                 )          Michael Angelo Baldassare (973) 200-4066
                                                                                 )         Defendant’s Attorney
   THE DEFENDANT:
   ✔ pleaded guilty to count(s)
   G                                     (1), (3)
   G pleaded nolo contendere to count(s)
      which was accepted by the court.
   G was found guilty on count(s)
      after a plea of not guilty.

   The defendant is adjudicated guilty of these offenses:

   Title & Section ?                 Nature of Offense                                                               Offense Ended               Count
   21USC952(a),960(a)                Conspiracy to import into the United States from a place                        12/10/2019            (1)

   960(b)(6), 963                    outside thereof a quantity of mixtures and substances

   18USC2                            containing a detectable amount of Tramadol                                      12/10/2019            (3)

          The defendant is sentenced as provided in pages 2 through                    5          of this judgment. The sentence is imposed pursuant to
   the Sentencing Reform Act of 1984.
   G The defendant has been found not guilty on count(s)
   ✔ Count(s)
   G                Any open counts                         G is        ✔ are dismissed on the motion of the United States.
                                                                        G
            It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
   or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
   the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                                    11/9/2020
                                                                                Date of Imposition of Judgment




                                                                                Signature of Judge




                                                                                                            Ronnie Abrams, U.S.D.J.
                                                                                Name and Title of Judge


                                                                                                                    11/9/2020
                                                                                Date




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                              Case 1:19-cr-00339-RA Document 58 Filed 11/09/20 Page 2 of 5
   AO 245B (Rev. 09/19) Judgment in Criminal Case
                        Sheet 2 — Imprisonment

                                                                                                      Judgment — Page      2        of   5
    DEFENDANT: Ajit Singh
    CASE NUMBER: 19 Cr. 339-01 (RA)

                                                             IMPRISONMENT
              The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
    total term of:


     Time served (on each count to run concurrent)



         G The court makes the following recommendations to the Bureau of Prisons:




         G The defendant is remanded to the custody of the United States Marshal.

         G The defendant shall surrender to the United States Marshal for this district:
             G at                                   G a.m.      G p.m.         on                                              .

             G as notified by the United States Marshal.

         G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             G before 2 p.m. on                                            .

             G as notified by the United States Marshal.
             G as notified by the Probation or Pretrial Services Office.


                                                                   RETURN
    I have executed this judgment as follows:




             Defendant delivered on                                                        to

    at                                               , with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL


                                                                           By
                                                                                                 DEPUTY UNITED STATES MARSHAL




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                               Case 1:19-cr-00339-RA Document 58 Filed 11/09/20 Page 3 of 5
   AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                          Sheet 3 — Supervised Release
                                                                                                         Judgment—Page     3     of       5
   DEFENDANT: Ajit Singh
   CASE NUMBER: 19 Cr. 339-01 (RA)
                                                          SUPERVISED RELEASE
   Upon release from imprisonment, you will be on supervised release for a term of:
    N/A




                                                         MANDATORY CONDITIONS
   1.   You must not commit another federal, state or local crime.
   2.   You must not unlawfully possess a controlled substance.
   3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
        imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               G The above drug testing condition is suspended, based on the court's determination that you
                   pose a low risk of future substance abuse. (check if applicable)
   4.    G  You   must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
            restitution. (check if applicable)
   5.    G You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
   6.    G You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
            directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
            reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
   7.    G You must participate in an approved program for domestic violence. (check if applicable)
   You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
   page.




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                              Case 1:19-cr-00339-RA Document 58 Filed 11/09/20 Page 4 of 5
   AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                          Sheet 5 — Criminal Monetary Penalties
                                                                                                       Judgment — Page       4    of         5
    DEFENDANT: Ajit Singh
    CASE NUMBER: 19 Cr. 339-01 (RA)
                                                   CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                  Restitution             Fine                  AVAA Assessment*            JVTA Assessment**
    TOTALS           $ 200.00                  $                      $                      $                           $


    G The determination of restitution is deferred until                     . An Amended Judgment in a Criminal Case (AO 245C) will be
         entered after such determination.

    G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
         the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
         before the United States is paid.

    Name of Payee                                                 Total Loss***              Restitution Ordered         Priority or Percentage




    TOTALS                               $                         0.00           $                    0.00


    G     Restitution amount ordered pursuant to plea agreement $

    G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
          fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
          to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

    G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

          G the interest requirement is waived for the            G fine    G restitution.
          G the interest requirement for the           G fine      G restitution is modified as follows:

    * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
    ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
    *** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
    or after September 13, 1994, but before April 23, 1996.


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                              Case 1:19-cr-00339-RA Document 58 Filed 11/09/20 Page 5 of 5
   AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                          Sheet 6 — Schedule of Payments

                                                                                                                  Judgment — Page      5      of      5
    DEFENDANT: Ajit Singh
    CASE NUMBER: 19 Cr. 339-01 (RA)

                                                           SCHEDULE OF PAYMENTS

    Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

    A    ✔ Lump sum payment of $ 200.00
         G                                                         due immediately, balance due

               G     not later than                                    , or
               G     in accordance with     G C,       G D,       G E, or         G F below; or
    B    G Payment to begin immediately (may be combined with                   G C,        G D, or       G F below); or
    C    G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                              (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

    D    G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                              (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
               term of supervision; or

    E    G Payment during the term of supervised release will commence within                      (e.g., 30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

    F    G Special instructions regarding the payment of criminal monetary penalties:




    Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
    the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
    Financial Responsibility Program, are made to the clerk of the court.

    The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



    G Joint and Several
         Case Number
         Defendant and Co-Defendant Names                                                     Joint and Several                Corresponding Payee,
         (including defendant number)                         Total Amount                         Amount                          if appropriate




    G The defendant shall pay the cost of prosecution.
    G The defendant shall pay the following court cost(s):
    G
    ✔ The defendant shall forfeit the defendant’s interest in the following property to the United States:
         A separate Consent Preliminary Order of Forfeiture/Money Judgment in the amount of $130,000 shall be issued.


    Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
    (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
    prosecution and court costs.


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